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                      EXHIBIT 2
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NEW YORK

   ROBERT SAMPSON,                                  :
                                                    :
                         Plaintiff,                 :
                                                    :   CIVIL ACTION NO. 2:22-cv-04490 JMA
                            v.                      :
                                                    :
   STONY BROOK UNIVERSITY; and                      :
   MAURIE MCINNIS, in her official capacity         :
   as President of Stony Brook University,          :
                                                    :
                     Defendants.                    :

                                 DECLARATION OF CHARLES WEINER

         1.      I am over 18 years of age and have personal knowledge of the matters addressed

  in this Declaration.

         2.      I am one of the attorneys for the Plaintiff Robert Sampson in the above matter.

         3.      Over the past 17 years, I have represented several hundreds of individuals with

  disabilities seeking accommodations pursuant to the Americans with Disabilities Act, 42 U.S.C.

  §12189 (ADA) on post-secondary entrance examinations, professional licensing examinations

  and certification examinations.

         4.      I have counseled individuals on the application process, appeals from denials of

  accommodations and have filed litigation against several testing entities who have denied

  individuals with disabilities seeking accommodations.

         5.      Specifically, I have filed several matters against the National Board of Medical

  Examiners including the following:

              a. Brendan J. Berger v. National Board of Medical Examiners, 19-cv-00099,

                 U.S.D.C. S.D. Ohio., 2019 WL 4040576 (S.D. Ohio, August 27, 2019).
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              b. Emily Behling v. National Board of Medical Examiner, 19-cv-01732, U.S.D.C.

                 Conn.

              c. Amy C. Custer v. National Board of Medical Examiners, 18-cv-00109, U.S.D.C.

                 N.D. Ohio.

              d. Lauren S. Rosenblatt v. National Board of Medical Examiners, 5:15-cv-00953,

                 U.S.D.C. W.D.TEX.

              e. Aaron Hartman v. National Board of Medical Examiners, 09-cv-5028, U.S.D.C.

                 E.D.PA, 2010 WL 1071423 (E.D. Pa., March 22, 2010); vacated as moot by 2010

                 WL 4461673 (E.D. Pa., October 18, 2010).

         6.      During the summer 2022, I was retained to represent Mr. Sampson in connection

  with his disputes against Stony Brook University and the National Board of Medical Examiners

  (NBME).

         7.      In an effort to avoid litigation and amicably resolve Mr. Sampson’s dispute with

  the NBME, I wrote to NBME’s national litigation counsel Robert Burgoyne, Esquire on July 18,

  2022, requesting a response by August 1, 2022. A true and correct copy of this letter is attached

  as Exhibit 2-A

         8.      By email dated July 22, 2022, Mr. Burgoyne responded indicating he was out of

  the country and not returning until the following week. Mr. Burgoyne further advised that he

  contact NBME but that he did not anticipate being able to respond by August 1, 2022. A true and

  correct copy of this email chain is attached as Exhibit 2-B.

         9.      By email dated August 4, 2022, after not receiving a response from NBME, I sent

  a follow up reminder email to Mr. Burgoyne, inquiring as to when we might expect a response

  from NBME. Ex. 2-B.



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         10.     By email dated August 26, 2022, after not receiving any response from NBME, I

  sent an email to Mr. Burgoyne along with a courtesy copy of a complaint. I advised that we

  intended to file in this Court and requested NBME’s prompt attention. A true and correct copy of

  this e-mail is attached as Exhibit 2-C

         11.     No response was received from NBME or its counsel.

         12.     On August 29, 2022, Plaintiff’s Complaint against NBME was filed with this

  court. See. Robert Sampson v. National Board of Medical Examiners, 2:22-cv-005120-JMA

  (Doc. 1)

         13.     Counsel for Defendant approach Plaintiff’s counsel, Mary Vargas via e-mail

  about dismissing President McInnis as a defendant. A true and correct copy of this e-mail chain

  is attached as Exhibit 2-D.

         14.     Plaintiff’s counsel indicated that it would agree to dismiss McInnis, provided that

  Stony Brook did not assert sovereign immunity as a bar to declaratory or injunctive relief.

  Exhibit 2-D.

         15.     Stony Brook declined to so stipulate. Exhibit 2-D.

         16.     I declare under penalty of perjury that the foregoing statements are true and

  correct.

  Date: September 23, 2022                             Respectfully submitted

                                                       _____/s/ Charles Weiner______
                                                       Charles Weiner, Esquire
                                                       LAW OFFICE OF CHARLES WEINER
                                                       99 Lantern Drive, Suite 202
                                                       Doylestown, PA 18901
                                                       Tel: (267) 685-6311
                                                       charles@charlesweinerlaw.com

                                                       Attorney of Plaintiff, Robert Sampson



                                                  3
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                  EXHIBIT 2-A
Case 2:22-cv-04490-JMA-AYS Document 16-2 Filed 09/23/22 Page 6 of 15 PageID #: 407




  99 Lantern Drive                                                                    267-685-6311
  Suite 202                                                                      215-340-7685 (fax)
  Doylestown, PA 18901                                                    www.CharlesWeinerLaw.com



                                            July 18, 2022

  VIA E-MAIL/rburgoyne@perkinscoie.com & cmew@perkinscoie.com

  Robert Burgoyne, Esquire
  Caroline Mew, Esquire
  Perkins Coie
  700 13th Street, N.W.
  Suite 800
  Washington, D.C. 20005


         Re:     Robert D. Sampson v. NBME

  Dear Bob:

  This office along with the attorneys of Stein & Vargas, LLP represent Robert D. Sampson,
  concerning the administration of the USMLE Step 1 exam. We intend to file litigation against
  NBME for its discriminatory denial of Mr. Sampson’s requests for accommodations, which
  included 100% extended time and additional break time. We are contacting you as a courtesy,
  and with the hope that you can impress upon NBME to reverse its denial of accommodations and
  provide the requested accommodations before we file suit.

  Mr. Sampson is an individual with a disability pursuant to the Americans with Disabilities Act
  28 U.S.C. § 12101 et seq. (ADA) and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §
  794 (Section 504). Mr. Sampson meets the DSM-5 diagnosis criteria for Specific Learning
  Disorder with impairment in reading (reading comprehension and reading fluency) and
  impairment in written expression. Mr. Sampson also meets the criteria for Attention Deficit
  Hyperactivity Disorder, combined presentation. Comprehensive neuropsychological testing
  conducted at the Mount Sinai Medical College (“Mount Sinai”) resulted in a determination that
  Mr. Sampson requires extended time on testing and extended breaks. The results of this most
  recent testing at Mount Sinai were consistent with prior neuropsychological testing in all respects
  except new testing found that Mr. Sampson required double time rather than the time and half
  that was previously recommended. Mr. Sampson’s medical school considered the Mount Sinai
  evaluation and, pursuant to the ADA and Section 504, approved double extended time for all
  testing.
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                                                                  Mr. Robert Burgoyne, Esquire
                                                                        Re: Sampson v. NBME
                                                                                 July 18, 2022
                                                                                   Page 2 of 2

  Despite submitting substantial documentation supporting the need for accommodations,
  including reports of interventions during his developmental period, NBME rejected Mr.
  Sampson’s request for accommodations multiple times and most recently on June 1, 2022.

  Kindly advise whether the NBME wishes to resolve this matter in accordance with the foregoing
  request. In exchange, we shall forebear from filing suit. If NBME is unwilling to resolve this
  matter, we shall commence our preparation and filing of a Complaint and Motion for Preliminary
  Injunction. We request a response from you by August 1, 2022. We are available if you wish to
  discuss this matter.

  Thank you for your consideration.

  Very truly yours,

     /s/
  Charles Weiner

  cc:    Mary C. Vargas, Esq. (via email)
         Michael S. Stein, Esq. (via email)
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                  EXHIBIT 2-B
Case 2:22-cv-04490-JMA-AYS Document 16-2 Filed 09/23/22 Page 9 of 15 PageID #: 410
                                                               Friday, September 23, 2022 at 10:21:05 Eastern Daylight Time


Subject:    Re: Robert D. Sampson / NBME
Date:       Thursday, August 4, 2022 at 4:46:43 PM Eastern Daylight Time
From:       Chuck Weiner
To:         Burgoyne, Robert (WDC), Mew, Caroline (WDC)
CC:         Mary Vargas, Michael Stein
AEachments: image001.png, image002.png

Hi Bob:

Hope you’re enjoying the Rme oﬀ. Just following up on this maVer to see when we might expect a response
from NBME.

Best,
Chuck




Charles Weiner, Esq.
99 Lantern Drive
Suite 202
Doylestown, PA 18901
267-685-6311
215-340-7685 (FAX)
charles@charlesweinerlaw.com

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intended recipient, do not read, copy or distribute the e-mail or any attachments. Instead, please notify the sender and delete the e-mail
and any attachments. Thank you.




From: "Burgoyne, Robert (WDC)" <RBurgoyne@perkinscoie.com>
Date: Friday, July 22, 2022 at 9:25 AM
To: Chuck Weiner <charles@charlesweinerlaw.com>, "Mew, Caroline (WDC)"
<CMew@perkinscoie.com>
Cc: Mary Vargas <mary.vargas@steinvargas.com>, Michael Stein <michael.stein@steinvargas.com>
Subject: RE: Robert D. Sampson / NBME

Hello Charlie,

My apologies for the delayed response. I am out of the country unRl next week and have not been reading or
responding to emails as regularly as I ordinarily would.

I will contact NBME as soon as I can when I get back, but I don’t anRcipate being able to get you a response
by the requested August 1 date. Just wanted to give you a heads up so that you know where this stands.

Best,

Bob


From: Chuck Weiner <charles@charlesweinerlaw.com>
                                                                                                                                      Page 1 of 2
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From: Chuck Weiner <charles@charlesweinerlaw.com>
Sent: Monday, July 18, 2022 3:04 PM
To: Burgoyne, Robert (WDC) <RBurgoyne@perkinscoie.com>; Mew, Caroline (WDC)
<CMew@perkinscoie.com>
Cc: Mary Vargas <mary.vargas@steinvargas.com>; Michael Stein <michael.stein@steinvargas.com>
Subject: Robert D. Sampson / NBME

This office along with the attorneys of Stein & Vargas, LLP represent Robert D. Sampson, concerning
the administration of the USMLE Step 1 exam. Kindly review the attached letter.




Charles Weiner, Esq.
99 Lantern Drive
Suite 202
Doylestown, PA 18901
267-685-6311
215-340-7685 (FAX)
charles@charlesweinerlaw.com

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                                                                                                                                                 Page 2 of 2
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                   EXHIBIT 2-C
Case 2:22-cv-04490-JMA-AYS Document 16-2 Filed 09/23/22 Page 12 of 15 PageID #: 413
                                                               Friday, September 23, 2022 at 10:14:46 Eastern Daylight Time


Subject:    Sampson v. NBME
Date:       Friday, August 26, 2022 at 11:02:59 AM Eastern Daylight Time
From:       Chuck Weiner
To:         Burgoyne, Robert (WDC)
CC:         Mary Vargas, Michael Stein
AFachments: 2022-08-26 Complaint NBME.pdf, image001.png

Bob:

We appreciate you keeping us updated on the status of NBME’s review; however, it has taken a considerable
amount of Ame, much to the detriment of Mr. Sampson’s educaAon and career endeavors. Accordingly,
enclosed is a courtesy copy of the complaint we intend to ﬁle in the U.S. District Court, E.D.N.Y.

Should NBME decide to approve Mr. Sampson for accommodaAons, kindly let us know.

Thank you for your prompt aKenAon to this maKer.




Charles Weiner, Esq.
99 Lantern Drive
Suite 202
Doylestown, PA 18901
267-685-6311
215-340-7685 (FAX)
charles@charlesweinerlaw.com

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                  EXHIBIT 2-D
Case 2:22-cv-04490-JMA-AYS Document 16-2 Filed 09/23/22 Page 14 of 15 PageID #: 415
                                                    Friday, September 23, 2022 at 18:45:14 Eastern Daylight Time




From: Lynch, Helena <Helena.Lynch@ag.ny.gov>
Date: Tuesday, August 23, 2022 at 11:27 AM
To: Mary Vargas <mary.vargas@steinvargas.com>
Subject: RE: Sampson

Hi Mary,

Thank you for your response. We will withdraw the request for now rather than delving deeper into
merits questions.


Helena Lynch | Assistant Attorney General
Office of the New York State Attorney General
Nassau Regional Office
200 Old Country Road, Suite 240 | Mineola, New York 11501
(516) 248-3312 (desk) | (347) 899-5515 (mobile)
helena.lynch@ag.ny.gov



From: Mary Vargas <mary.vargas@steinvargas.com>
Sent: Wednesday, August 17, 2022 1:10 PM
To: Lynch, Helena <Helena.Lynch@ag.ny.gov>
Subject: Re: Sampson

[EXTERNAL]
Helena,

Thank you for providing the waiver of service. I will get that ﬁled.

In answer to your quesFon from yesterday about President McInnis – if Stony Brook is willing to
sFpulate that sovereign immunity does not bar declaratory and injuncFve relief and that we do not
need Ex Parte Young to obtain such relief, then we would be willing to dismiss President McInnis.

Mary


From: Lynch, Helena <Helena.Lynch@ag.ny.gov>
Date: Wednesday, August 17, 2022 at 10:15 AM
To: Mary Vargas <mary.vargas@steinvargas.com>
Subject: RE: Sampson



                                                                                                          Page 1 of 2
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Good morning Mary,

Here a waiver of service form for both SBU and Maurie McInnis. Maurie McInnis signed for both even
though the parties are now represented.

Helena Lynch | Assistant Attorney General
Office of the New York State Attorney General
Nassau Regional Office
200 Old Country Road, Suite 240 | Mineola, New York 11501
(516) 248-3312 (desk) | (347) 899-5515 (mobile)
helena.lynch@ag.ny.gov



From: Lynch, Helena
Sent: Tuesday, August 16, 2022 1:00 PM
To: mary.vargas@steinvargas.com
Subject: Sampson

Good afternoon Mary,

Apologies that we have not yet provided the waiver of service forms. We will do so asap but in the
meantime you may rely upon our representation that we will waive further service of process.

In the meantime, I wonder if your client would consider dismissing President McInnis as a defendant.
The reason for the request is that no individual liability is recognized under the ADA or the RA
(regardless of official vs. personal capacity). This would allow the parties and the court to better focus
on the substantive issues. Please consider and let us know, at your convenience.

Thank you,

Helena Lynch | Assistant Attorney General
Office of the New York State Attorney General
Nassau Regional Office
200 Old Country Road, Suite 240 | Mineola, New York 11501
(516) 248-3312 (desk) | (347) 899-5515 (mobile)
helena.lynch@ag.ny.gov




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